Case 9:17-cv-80495-KAM Document 359 Entered on FLSD Docket 05/15/2019 Page 1 of 3



 Joanna Burke and John Burke
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 K inn ood,TX ,77339
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 Email;kajongwe@ m ail.com
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 M ay 10,2019                                               ANGELA E.NOBLE
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 United StatesDistrictCourt
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 W estPalm Beach D ivision
 PaulG .RogersFederalBuilding
 and'U .S;Coue ouse
 701 Clem atis Street,Room 202
 W estPalm Beach,FL 33401

 Forthe attn of:
 The Hon.JudgeKenneth A .M arra

 D earH on.JudgeM arra

 CivilAction No.9:17-CV-80495
 CONSUA R > ANCIAL'PROTECTION BIJREAU v&.
 O CW KN FG ANC IAL C OR PO RA TIO N

  On D ec 27th2018,w e subm itted a M otion to Intervene in the above styled case.ltis
  recorded as D oc.zzoxentered 4* January 2019,som e 4 m onthsago.
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  To date,the motionlsl are pending and the case is moving towards trial.W e are
  currently in litigation with Ocwen.and requireatleastpermissiveintervention (24.
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  to obtain,atminim Azm ,accessto sealed domlm entsthatm ay help otlrown case,which
  isnow on appealto the CourtofAppealsfortheFifth Circuit.

  11lsupport,wew ould citetheLarly Flyntintervention to unsealdocum ents,wllich w as
  v apted on appealto the U S Courtof Appeals for the 81 Ciro,Case No. 14-1187
  (2015).


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Case 9:17-cv-80495-KAM Document 359 Entered on FLSD Docket 05/15/2019 Page 2 of 3



 A fim e is critical for our own appeal - as we m ay w ish to include the docllm ents
 recovered 9om theCFPB Floridacasein ourpetition totheFi% Circuit-yourearliest
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 assistance in thlsm atterisrespectfully requested.

 Tlmnking you in advance.

 Respect/ lly

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 Joanna Burke & John Burke
 Pro Se,Intervenor-A pplieants
 46 Kingwood GreensDr.,
  Kingwood,Txo77739
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 Fax:(866)705-5076
 Email;kajongwe@ pnail.com
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 ''there isno rctuwzltorequiresucha strong nexusoffactorlaw.''BeckmanIndus.,Inc.v.
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